                                                   Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 1 of 10



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                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
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                                    13        Sandra Dailey                                       Case Number:
                 Phoenix, Arizona




                                    14                             Plaintiff,                     Complaint For Damages
                                    15        v.
                                                                                                  Jury Trial Demanded
                                    16        Receivable Resources LLC
                                    17
                                                                   Defendant.
                                    18
                                    19
                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

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                                              Complaint                             - 1 of 10 -
                                                 Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 2 of 10



                                     1           collection practices are not competitively disadvantaged, and to promote
                                     2           consistent State action to protect consumers against debt collection abuses.
                                     3   2.      Sandra Dailey, (Plaintiff), through Plaintiff's attorneys, brings this action to
                                     4           challenge the actions of Receivable Resources LLC, (“Defendant”), with
                                     5           regard to attempts by Defendant to unlawfully and abusively collect a debt
                                     6           allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                     7   3.      Plaintiff makes these allegations on information and belief, with the exception
                                     8           of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                     9           Plaintiff alleges on personal knowledge.
                                    10   4.      While many violations are described below with specificity, this Complaint
                                    11           alleges violations of the statutes cited in their entirety.
                                    12   5.      Unless otherwise stated, Plaintiff alleges that any violations by Defendant
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                                    13           were knowing and intentional, and that Defendant did not maintain
                 Phoenix, Arizona




                                    14           procedures reasonably adapted to avoid any such violation.
                                    15                                     JURISDICTION AND VENUE
                                    16   6.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    17           1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                    18   7.      This action arises out of Defendant's violations of the Fair Debt Collection
                                    19           Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”)
                                    20   8.      Because Defendant does business within the State of Arizona, personal
                                    21           jurisdiction is established.
                                    22   9.      Venue is proper pursuant to 28 U.S.C. § 1391.
                                    23                                                  PARTIES
                                    24   10.     Plaintiff is a natural person who resides in the City of Peoria, County of
                                    25           Maricopa, State of Arizona.
                                    26   11.     Defendant is located in the City of Bensalem, the County of Bucks, and the
                                    27           State of Pennsylvania.
                                    28

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                                              Complaint                             - 2 of 10 -
                                               Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 3 of 10



                                     1   12.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                     2         as that term is defined by 15 U.S.C. § 1692a(3).
                                     3   13.   Defendant is a person who uses an instrumentality of interstate commerce or
                                     4         the mails in a business the principal purpose of which is the collection of
                                     5         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                     6         debts owed or due or asserted to be owed or due another and is therefore a
                                     7         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                     8                                       FACTUAL ALLEGATIONS
                                     9   14.   At all times relevant to this matter, Plaintiff was an individual residing within
                                    10         the State of Arizona.
                                    11   15.   At all times relevant, Defendant conducted business within the State of
                                    12         Arizona.
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                                    13   16.   Sometime before May 24, 2010, Plaintiff is alleged to have incurred certain
                 Phoenix, Arizona




                                    14         financial obligations.
                                    15   17.   These financial obligations were primarily for personal, family or household
                                    16         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    17         §1692a(5).
                                    18   18.   Sometime thereafter, but before May 24, 2010, Plaintiff allegedly fell behind
                                    19         in the payments allegedly owed on the alleged debt. Plaintiff currently takes
                                    20         no position as to the validity of this alleged debt.
                                    21   19.   Subsequently, but before May 24, 2010, the alleged debt was assigned,
                                    22         placed, or otherwise transferred, to Defendant for collection.
                                    23   20.   On or about May 24, 2010, Defendant called Plaintiff’s daughter, a third
                                    24         party, as that phrase is anticipated by 15 U.S.C. §1692c(b), and discussed
                                    25         Plaintiff’s alleged debt.
                                    26   21.   This communication to a third party was without prior consent, or the express
                                    27         permission of a court of competent jurisdiction, or as reasonably necessary to
                                    28         effectuate a post judgment judicial remedy, and was in connection with the

                                          ______________________________________________________________________________________________________
                                           Complaint                                - 3 of 10 -
                                               Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 4 of 10



                                     1         collection of the alleged debt, and with a person other than Plaintiff, Plaintiff's
                                     2         attorney, a consumer reporting agency, the creditor, the attorney of the
                                     3         creditor, or the attorney of the debt collector. This communication to this
                                     4         third party was not provided for in 15 U.S.C. § 1692b.                       By making said
                                     5         communication to a third party, Defendant violated 15 U.S.C. § 1692c(b).
                                     6   22.   Through this conduct, Defendant communicated with a person other than the
                                     7         consumer for the purported purpose of acquiring location information and
                                     8         failed to identify himself, or state that was is confirming or correcting location
                                     9         information concerning the consumer, or identified his employer without
                                    10         express request. Consequently, Defendant violated 15 U.S.C. § 1692b(1).
                                    11   23.   Defendant communicated with a person other than the consumer for the
                                    12         purported purpose of acquiring location information and stated that the
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                                    13         consumer owed a debt. Consequently, Defendant violated 15 U.S.C. §
                 Phoenix, Arizona




                                    14         1692b(2).
                                    15   24.   After Plaintiff was informed of this call from her Daughter, Plaintiff returned
                                    16         Defendant’s call.
                                    17   25.   This communication to Plaintiff was a “communication” as that term is
                                    18         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    19         with 15 U.S.C. § 1692g(a).
                                    20   26.   Defendant failed within five days after its initial communication with
                                    21         Plaintiff, to provide written notification containing a statement that unless
                                    22         Plaintiff, within thirty days after receipt of that notice, disputed the validity of
                                    23         the debt, or any portion thereof, Defendant would assume the debt was valid,
                                    24         or failed within five days after its initial communication with Plaintiff to
                                    25         provide a written notice containing a statement that if Plaintiff notified
                                    26         Defendant in writing, within the thirty-day period that the debt, or any portion
                                    27         thereof, was disputed, Defendant would obtain verification of the debt or a
                                    28         copy of a judgment against Plaintiff and a copy of such verification or

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                                           Complaint                                - 4 of 10 -
                                               Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 5 of 10



                                     1         judgment would be mailed to Plaintiff by Defendant and that Defendant
                                     2         would provide Plaintiff with the name and address of the original creditor.
                                     3         This omission by Defendant violated 15 U.S.C. § 1692g.
                                     4   27.   During this phone call, Plaintiff spoke to Defendant’s agent, Ernie Austin. Mr.
                                     5         Austin was rude and condescending towards Plaintiff during the entire call.
                                     6         Mr. Austin threatened to add on “extra charges” to Plaintiff’s debt if she did
                                     7         not agree to a payment plan right then.
                                     8   28.   Through this conduct, Defendant used a false, deceptive, or misleading
                                     9         representation or means in connection with the collection of a debt.
                                    10         Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                    11         1692e(10).
                                    12   29.   Through this conduct, Defendant threatened to take action that cannot legally
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                                    13         be taken or that is not intended to be taken. Consequently, Defendant violated
                 Phoenix, Arizona




                                    14         15 U.S.C. § 1692e(5).
                                    15   30.   Through this conduct, Defendant used an unfair or unconscionable means to
                                    16         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    17         U.S.C. § 1692f.
                                    18   31.   Through this conduct, Defendant was collecting an amount (including any
                                    19         interest, fee, charge, or expense incidental to the principal obligation) when
                                    20         such amount was not expressly authorized by the agreement creating the debt
                                    21         or permitted by law. Consequently, Defendant violated 15 U.S.C. § 1692f(1).
                                    22   32.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    23         of which was to harass, oppress, or abuse a person in connection with the
                                    24         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                    25   33.   On or about the end of May 2010, beginning of June 2010, Defendants began
                                    26         repeatedly calling Plaintiff at her place of employment. Plaintiff works in a
                                    27         store and does not have easy access to a phone for personal phone calls.
                                    28

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                                           Complaint                                - 5 of 10 -
                                               Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 6 of 10



                                     1   34.   During Defendants calls, Defendant was informed by Plaintiff’s coworkers
                                     2         that Plaintiff could not receive personal calls at work.
                                     3   35.   Defendant was advised that Plaintiff's employer prohibited Plaintiff from
                                     4         receiving such communications at Plaintiff's place of employment in a
                                     5         manner consistent with 15 U.S.C. §1692c(a)(3), and also advised Defendant
                                     6         that calls at Plaintiff's place of employment was inconvenient, as prescribed in
                                     7         15 U.S.C. §1692c(a)(1).
                                     8   36.   Despite these warnings, Defendant continued to call Plaintiff’s place of
                                     9         employment.
                                    10   37.   Because Defendant knew or had reason to know that the Plaintiff's employer
                                    11         prohibits Plaintiff from receiving such communications and that such calls
                                    12         were inconvenient, these actions by Defendant violated 15 U.S.C. § 1692c(a)
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                                    13         (1) and 15 U.S.C. § 1692c(a)(3).
                 Phoenix, Arizona




                                    14   38.   Also during these calls to Plaintiff’s place of employment, Defendant would
                                    15         try to obtain Plaintiff’s work schedule from Plaintiff’s coworkers.
                                    16   39.   This communication to a third party was without prior consent, or the express
                                    17         permission of a court of competent jurisdiction, or as reasonably necessary to
                                    18         effectuate a post judgment judicial remedy, and was in connection with the
                                    19         collection of the alleged debt, and with a person other than Plaintiff, Plaintiff's
                                    20         attorney, a consumer reporting agency, the creditor, the attorney of the
                                    21         creditor, or the attorney of the debt collector. This communication to this
                                    22         third party was not provided for in 15 U.S.C. § 1692b.                       By making said
                                    23         communication to a third party, Defendant violated 15 U.S.C. § 1692c(b).
                                    24   40.   On one occasion on or about June 2010, a female agent of Defendant’s called
                                    25         Plaintiff’s place of employment. During this conversation, Defendant’s agent
                                    26         was informed that Plaintiff was unavailable. Despite this, Defendant’s agent
                                    27         refused to hang up, and repeatedly insisted on speaking to Plaintiff.
                                    28         Defendant’s manner was rude and aggressive towards Plaintiff’s coworker.

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                                           Complaint                                - 6 of 10 -
                                               Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 7 of 10



                                     1   41.   Through this conduct, Defendant engaged in conduct the natural consequence
                                     2         of which was to harass, oppress, or abuse a person in connection with the
                                     3         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                     4   42.   Through this conduct, Defendant used an unfair or unconscionable means to
                                     5         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                     6         U.S.C. § 1692f.
                                     7   43.   On or about late June 2010 or early July 2010, Defendant again called
                                     8         Plaintiff’s daughter in an attempt to collect the alleged debt.
                                     9   44.   This communication to a third party was without prior consent, or the express
                                    10         permission of a court of competent jurisdiction, or as reasonably necessary to
                                    11         effectuate a post judgment judicial remedy, and was in connection with the
                                    12         collection of the alleged debt, and with a person other than Plaintiff, Plaintiff's
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                                    13         attorney, a consumer reporting agency, the creditor, the attorney of the
                 Phoenix, Arizona




                                    14         creditor, or the attorney of the debt collector. This communication to this
                                    15         third party was not provided for in 15 U.S.C. § 1692b.                       By making said
                                    16         communication to a third party, Defendant violated 15 U.S.C. § 1692c(b).
                                    17   45.   Through this conduct, Defendant communicated with a person other than the
                                    18         consumer for the purported purpose of acquiring location information and
                                    19         failed to identify himself, or state that was is confirming or correcting location
                                    20         information concerning the consumer, or identified his employer without
                                    21         express request. Consequently, Defendant violated 15 U.S.C. § 1692b(1).
                                    22   46.   Defendant communicated with a person other than the consumer for the
                                    23         purported purpose of acquiring location information and stated that the
                                    24         consumer owed a debt.               Consequently, Defendant violated 15 U.S.C. §
                                    25         1692b(2).
                                    26   47.   Through this conduct, Defendant communicated with a person other than the
                                    27         consumer for the purported purpose of acquiring location information and
                                    28         communicated with said person more than once without the request to do so

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                                           Complaint                                - 7 of 10 -
                                               Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 8 of 10



                                     1         by such person and without reasonably believing that the earlier response by
                                     2         said person was erroneous or incomplete and without reasonably believing
                                     3         that such person now had correct or complete location information.
                                     4         Consequently, Defendant violated 15 U.S.C. § 1692b(3).
                                     5   48.   After Plaintiff was informed of this call from her Daughter, Plaintiff returned
                                     6         Defendant’s call to again request that her work or third parties not be
                                     7         contacted by Defendants.
                                     8   49.   During this conversation, Plaintiff spoke to Defendant’s agent, Steven
                                     9         McBride. Defendant’s agent stated that he was “disgusted” that Plaintiff did
                                    10         not follow through on a payment plan for this alleged debt.
                                    11   50.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    12         of which was to harass, oppress, or abuse a person in connection with the
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                                    13         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                 Phoenix, Arizona




                                    14   51.   Through this conduct, Defendant used an unfair or unconscionable means to
                                    15         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    16         U.S.C. § 1692f.
                                    17   52.   Through this conduct, Defendant used language the natural consequence of
                                    18         which is to abuse the consumer. Consequently, Defendant violated 15 U.S.C.
                                    19         § 1692d(2).
                                    20   53.   In an attempt to end the abuse, Plaintiff agreed to a payment plan, with
                                    21         payments that exceeded what she could possibly afford.
                                    22   54.   Later, after learning that Defendants conduct was abusive and illegal, Plaintiff
                                    23         cancelled all payments to Defendant.
                                    24   55.   Due to Defendant’s actions, Plaintiff has suffered actual damages in the form
                                    25         of mental anguish including sleeplessness, restlessness, nervousness,
                                    26         embarrassment, humiliation, guilt, fear of answering the telephone, and fear
                                    27         of answering the door, all impacting her job, marriage and personal
                                    28         relationships as well as exacerbating her pre-existing medical conditions.

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                                           Complaint                                - 8 of 10 -
                                                 Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 9 of 10



                                     1                                          CAUSES OF ACTION
                                     2                                                 COUNT I
                                     3               VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                     4                                      15 U.S.C. §§ 1692 ET SEQ.
                                     5   56.     Plaintiff incorporates by reference all of the above paragraphs of this
                                     6           Complaint as though fully stated herein.
                                     7   57.     The foregoing acts and omissions constitute numerous and multiple violations
                                     8           of the FDCPA, including but not limited to each and every one of the above-
                                     9           cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                    10   58.     As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                    11           any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                    12           an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
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                                    13           reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                 Phoenix, Arizona




                                    14           Defendant.
                                    15                                         PRAYER FOR RELIEF
                                    16   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                    17   Plaintiff be awarded damages from Defendant, as follows:
                                    18                                                 COUNT I
                                    19                            FAIR DEBT COLLECTION PRACTICES ACT
                                    20                                      15 U.S.C. §§ 1692 ET SEQ.
                                    21   59.     An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                    22   60.     An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)
                                    23           (2)(A);
                                    24   61.     An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
                                    25           U.S.C. § 1692k(a)(3).
                                    26   //
                                    27   //
                                    28   //

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                                              Complaint                             - 9 of 10 -
                                               Case 2:10-cv-02098-JWS Document 1 Filed 09/30/10 Page 10 of 10



                                     1                                            TRIAL BY JURY
                                     2   62.   Pursuant to the seventh amendment to the Constitution of the United States of
                                     3         America, Plaintiff is entitled to, and demands, a trial by jury.
                                     4
                                         Date: September 22, 2010                                 Hyde & Swigart
                                     5
                                                                                                  By:__/s/ David J. McGlothlin_
                                     6
                                                                                                  David J. McGlothlin
                                     7                                                            Attorney for the Plaintiff
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                 Phoenix, Arizona




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                                           Complaint                               - 10 of 10 -
